Filed 8/26/24 Healthcare Management v. R.O.A.R. Management CA2/1
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION ONE

 HEALTHCARE MANAGEMENT                                                   B330809
 ASSOCIATES, INC., et al.,
                                                                         (Los Angeles County
           Plaintiffs, Cross-defendants,                                 Super. Ct. No. 22STV10768)
           and Appellants,

           v.

 R.O.A.R. MANAGEMENT COMPANY,
 INC., et al.,

           Defendants, Cross-complainants,
           and Respondents.


      APPEALS from an order of the Superior Court of Los
Angeles County, Daniel M. Crowley, Judge. Affirmed in part,
reversed in part, and remanded with directions.
      Law Offices of Olaf J. Muller and Olaf J. Muller for
Plaintiffs, Cross-defendants, and Appellants Healthcare
Management Associates, Inc., Mary Aviles, National Intra-
Operative Monitoring, Inc., and Orangewood Surgical Center,
LLC.
       Bird, Marella, Rhow, Lincenberg, Drooks &amp; Nessim,
Benjamin N. Gluck, and Elliot C. Harvey Schatmeier for Cross-
defendants and Appellants Ismael Silva, Jr., M.D., Ismael Geli
Silva, James Aviles, Starbase, Inc., and American Financial
Investment Services, Inc.
       Steptoe, Ashwin J. Ram, Alexander Avery, Destinae
Demery, and Nicolena Farias-Eisner for Defendants, Cross-
complainants, and Respondents Ari Resnik and R.O.A.R
Management Company, Inc., and for Defendant 11 Funding LLC.
                    ________________________

       Healthcare Financial Solutions, LLC (HFS) was a company
that factored healthcare-related receivables. When the parties
that formed it, Ari Resnick through R.O.A.R. Management
Company, Inc. (ROAR) and Dr. Ismael Silva, Jr. through
Healthcare Management Associates, Inc. (HMA), could not agree
how to dissolve it, litigation commenced. HMA sued Resnick,
ROAR, and another Resnick-owned company for breach of the
HFS operating agreement, theft of trade secrets, and various
business-related torts. Resnick and ROAR (the Resnick parties)
filed a cross-complaint against HMA and another individual for
declaratory relief and breach of fiduciary duty. The Resnick
parties assert that during the litigation they learned that a
decade’s worth of Silva’s past assurances, including his
statements about the lack of merit to numerous prior civil suits
and a criminal case against Silva, were untrue. The Resnick
parties then filed a first amended cross-complaint (FAXC),
asserting Racketeer Influenced and Corrupt Organizations Act
(RICO; 18 U.S.C. § 1961 et seq.) claims and a civil fraud cause of




                                2
action against Silva and others allegedly affiliated with him
based on Silva’s alleged misrepresentations.
      Silva and the cross-defendants named in these RICO and
fraud claims either filed or joined in an anti-SLAPP1 motion to
strike portions of the FAXC. Silva and his fellow cross-
defendants argued certain allegations of the FAXC described
statements made in connection with prior litigation and, thus,
were protected activity. They further argued the Resnick parties
had not demonstrated that these claims had minimal merit.
      The trial court denied the special motion to strike. It found
the challenged allegations were not protected activity because
they related to statements about judicial proceedings and not to
statements made in connection with judicial proceedings. As its
analysis of the first prong of section 425.16 was dispositive, the
court did not address whether the Resnick parties’ claims had
minimal merit.
      Silva and his fellow cross-defendants argue the trial court
erred because statements made about legal proceedings to
interested nonparties are protected conduct under the anti-
SLAPP statute, and the Resnick parties failed to show those
allegations have minimal merit. The Resnick parties counter
that the trial court properly denied the special motion to strike
because the challenged portions of the FAXC are only context or


      1 SLAPP is an acronym for “strategic lawsuit against public
participation.” (Equilon Enterprises v. Consumer Cause, Inc.
(2002) 29 Cal.4th 53, 57.) For clarity, we also refer to a “SLAPP”
or “anti-SLAPP” motion as “a special motion to strike”—the
language used in the statute (Code Civ. Proc., § 425.16,
subd. (b)(1)). All unspecified statutory references are to the Code
of Civil Procedure.




                                 3
evidence of the wrongs complained of, and do not supply the
elements of any cause of action. To the extent any of the subject
allegations involve protected activity, the Resnick parties have
abandoned any effort on appeal to contend such claims have
minimal merit. Instead, the Resnick parties argue the
appropriate disposition would be to strike only those claims
involving protected activity and not their causes of action, which
they contend they can state without any stricken allegations.
       The allegations challenged by the special motion to strike
fall into four categories: (1) statements Silva or other cross-
defendants made about other lawsuits to interested parties;
(2) statements Silva made in other lawsuits (most of which he
made in an unrelated family law divorce case); (3) information
the Resnick parties learned from the other lawsuits; and
(4) allegations that appear to have nothing to do with any prior
lawsuit. As to the first category, case law establishes that
statements by a litigant about a lawsuit to an interested person
are protected conduct and, here, those protected statements
supply at least one element of the RICO and fraud causes of
action alleged in the FAXC. However, as to the remaining
categories, none of the allegations concerning litigation-related
statements supply an element of the challenged claims.
Accordingly, we reverse in part, and remand with instructions to
strike only the statements in the first category. We affirm the
denial of the special motion to strike as to the remaining
allegations.




                                 4
                         BACKGROUND
A.    Events Giving Rise to the FAXC
      1.    Factual Overview
       As the parties’ dispute on appeal involves only the first step
of the anti-SLAPP analysis, we begin with the pertinent
allegations of the FAXC. In 2010, Resnick and Silva discussed
forming a factoring business to purchase medical accounts
receivable from healthcare treatment providers at a discount and
then collect on them. They agreed to each invest $500,000 into
the new company. Resnick would further contribute his expertise
in lien factoring, networking, and accounting; Silva would use his
expertise and connections to obtain additional financing. Thus,
HMA and ROAR formed HFS. Resnick owned ROAR, and
although HMA was nominally owned and operated by Silva’s
sister and cross-defendant, Mary2 Aviles, Silva actually operated
and controlled HMA. HFS was a manager-controlled LLC, and
Resnick was its sole manager.
       In 2021, Resnick sought to dissolve HFS pursuant to the
terms of its operating agreement. HFS informed clients that they
could send their business to ProCare Funding, LLC (ProCare), a
company run by Mary Aviles’s son, James Aviles, and her former
son-in-law, Ernest Medina, or to 11 Funding, LLC (11 Funding),
a company headed by ROAR and Resnick.
       The parties could not agree upon dissolution terms and
filed lawsuits against one another in early 2022. Nearly a year
later, in February 2023, the Resnick parties filed their FAXC.



      2 Mary Aviles is sometimes referred to in the record as
Mari. We use Mary throughout the opinion for consistency.




                                 5
The FAXC alleged that as a result of the litigation, the Resnick
parties more closely scrutinized Silva’s representations and
actions since 2010, “ ‘connect[ed] the dots,’ ” and determined
cross-defendants had defrauded them.
      2.    The Parties
       According to the FAXC, Silva is an orthopedic surgery
specialist who owns or controls several entities even if he is not
formally named as an officer, owner, or manager, including cross-
defendants HMA, National Intra-Operative Monitoring, Inc.
(NIOM), Orangewood Surgical Center, LLC (Orangewood),
Starbase, Inc. (Starbase), and American Financial Investment
Services, Inc. (AFIS), and non-parties Healthpointe Medical
Group, Inc. (Healthpointe) and ProCare. Other than NIOM and
Healthpointe, these companies are headed, on paper, by Silva’s
relatives, including cross-defendants Mary Aviles for HMA,
James Aviles for Orangewood and ProCare, and Silva’s son, Geli
Silva (Geli) for AFIS and Starbase, and non-party Medina for
ProCare.
       Until sometime in 2014, Mary Aviles appeared to serve as
the chief executive officer of Healthpointe, a group of medical
clinics. Until approximately 2016, HFS purchased liens or
accounts receivable from non-Healthpointe facilities where
Healthpointe physicians performed surgery on Healthpointe
patients. Concerned about the connection between HMA and
Healthpointe, Resnick asked Silva whether Mary Aviles owned or
controlled Healthpointe. Silva assured him that Mary Aviles was
not an owner or officer of Healthpointe and that Silva’s attorney
had advised the business arrangement between HMA and
Healthpointe was legal. The FAXC suggests that sometime in




                                6
2014, Silva became the chief executive officer, secretary, chief
financial officer, president, and a director of Healthpointe.
      Orangewood is a surgery center from which HFS directly
purchased liens for procedures performed by Healthpointe
physicians for Healthpointe patients.
      NIOM provides real-time information about patients’
neurophysiologic status throughout surgery. In 2010, Silva was
president and secretary of NIOM; by 2021, Mary Aviles appeared
in corporate filings as the authorized agent for NIOM. Silva
caused Healthpointe physicians to use NIOM monitoring services
for their patients without disclosing any conflict of interest.
      As described below, Starbase and AFIS provided financing
to HFS.
     3.    Financing for HFS
       In or about 2011, Silva advised the Resnick parties that
HFS’s only available financing option was a medical device
company, Starbase, owned by Geli. HFS entered into a credit
facility with Starbase, secured by a lien on accounts receivable
proceeds. In 2012, Silva obtained financing from Citibank
purportedly for Healthpointe. The Resnik parties allege that
Silva used the loan proceeds from Citibank to fund Starbase and,
in turn, finance the loans to HFS at higher interest rates.
       In April 2015, Starbase assigned its security interest in
HFS’s assets and accounts receivables to American Global
Financial, Inc., whose authorized agent was James Aviles. In
2015, American Global Financial, Inc. was renamed AFIS. Silva
and Geli represented to Resnick that Silva had nothing to do with
AFIS’s business.




                               7
     4.    Silva, His Companies, and His Family Members Are
           Named in Lawsuits and a Criminal Prosecution
      In 2011, a physician at Healthpointe sued it and Silva in
Orange County Superior Court, asserting claims that included
fraud and breach of contract. Among other things, the physician
alleged that Silva overbilled insurance companies for physician
services at Healthpointe, pressured physicians to perform
unnecessary medical procedures, and concealed conflicts of
interest from Healthpointe patients. The FAXC does not state
when the Resnick parties learned of this lawsuit or that Silva
made any representations to Resnick about this lawsuit.
      On October 16, 2013, WorkCompCentral, a workers’
compensation industry publication, reported that Healthpointe
was involved in a qui tam case asserting it had overbilled for
procedures and devices, used counterfeit medical implant
hardware, and paid illegal kickbacks to doctors. The publication
further asserted Silva controlled Healthpointe. In response to
this article, Silva reassured Resnick there was no problem with
HFS continuing to accept business generated by Healthpointe.
However, HFS scaled back its purchase of liens from
Healthpointe. Silva and Mary Aviles formed ProCare, which
accepted lien referrals from Healthpointe.
      In May 2015, Resnick discovered that Silva, Starbase, and
Healthpointe had been named in a civil RICO lawsuit filed by the
State Compensation Insurance Fund (SCIF). When Resnick
emailed Silva about the lawsuit, Silva assured Resnick that the
allegations were not true, but that they might have to deal with
bad publicity.
      In 2017, the Orange County District Attorney filed a felony
complaint against Silva and Geli for fraud and kickbacks related




                                8
to patient and client referrals. The complaint asserted that
Healthpointe doctors referred workers’ compensation applicants
for urine toxicology tests administered by Christopher King and
Tanya Moreland King, and Silva aided the Kings in submitting
fraudulent claims for payment. In exchange, the Kings made
payments to Starbase. Resnick learned about the lawsuit, but
Silva assured Resnick that Starbase and AFIS would cooperate to
protect HFS and that Geli, but not Starbase, had been named as
a criminal defendant.
       In 2021, Silva’s then-spouse filed for divorce. During those
family law proceedings, in 2022, Silva misrepresented to his
spouse and the family court that he had no ownership interest in
Orangewood, ProCare, NIOM, Starbase, HFS, or other
companies.
      5.    The Resnick Parties Seek to Dissolve HFS
      In 2022, HFS was due to repay to AFIS loans totaling
approximately $13 million in principal. Up until that time, HFS
had made only interest payments on the loans of approximately
$5.1 million with no reduction in principal. Resnick realized HFS
was heading for a cash flow crisis and met with Silva to discuss
paying off the loans. Silva rejected Resnick’s proposal, and Mary
Aviles agreed with Silva’s decision. Resnick “realized he had
been defrauded by Silva—who represented to him, as far back as
2010, that there were no other financing options available—and
by Geli, Starbase, and AFIS—who concealed that Silva effectively
owned, controlled, and profited from Starbase and AFIS.”
Although “Silva had promised to contribute to HFS’[s] business
by using his expertise and connections to obtain additional
financing, it appear[ed] that he never even shopped around.”
Further, Resnick believed Silva was not holding up his end of the




                                9
bargain in other ways, forcing Resnick to do a disproportionate
share of the work operating HFS.
      Believing HFS could no longer continue doing business and
because Resnick no longer trusted Silva, the Resnick parties
proposed dissolving HFS. However, Resnick and Silva could not
agree to terms, and Resnick eventually gave notice under HFS’s
operating agreement to dissolve the company. HFS informed its
employees and clients of the dissolution and indicated Silva and
Resnick would carry on in the factoring business separately, as
ProCare and 11 Funding.
     6.    The Litigation
       On March 29, 2022, HMA sued Resnick, ROAR, and 11
Funding for, inter alia, breach of fiduciary duty, breach of the
operating agreement, fraud, conversion, misappropriation of
trade secrets, and intentional interference with prospective
economic relations.
       On May 16, 2022, Resnick and ROAR, individually and
derivatively on behalf of HFS, cross-complained against HMA
and Mary Aviles for declaratory relief and breach of fiduciary
duty. The court sustained a demurrer by HMA and Mary Aviles
as to the declaratory relief claims and concluded that only ROAR,
derivatively, could pursue the causes of action for breach of
fiduciary duty.
       On February 10, 2023, the trial court granted the Resnick
parties’ motion for leave to file the FAXC. The FAXC included
new causes of action for violation of RICO and conspiracy to
violate RICO (first and second causes of action) and fraud (third




                               10
cause of action).3 It attached 15 exhibits, including checks,
emails, HFS status updates, articles, the 2017 felony complaint,
corporate formation documents, and accounting documents.
       As part of their RICO and fraud claims, the Resnick parties
alleged cross-defendants committed fraudulent acts, including
(a) misrepresenting that Silva did not control or own HMA,
Starbase, AFIS, NIOM, and Orangewood; (b) misrepresenting
that Mary Aviles was not an actual owner or operator of
Healthpointe, NIOM, and Orangewood; (c) misrepresenting that
Silva would search for and procure arms-length financing for
HFS, when he only ever planned to propose financing from
Starbase/AFIS; (d) deriving increased profits from the tainted
Starbase/AFIS loan to HFS; (e) concealing ill-gotten gains and
disguising their source, location, and ownership by transferring
such monies between Starbase/AFIS and HFS, and NIOM and
Healthpointe; (f) deriving profits from kickbacks paid on patient
services ancillary to surgery without disclosing the conflict of
interest of dual ownership and control over Healthpointe,
Orangewood, and NIOM to patients, health care benefit
programs, and workers’ compensation carriers; and
(g) misrepresenting to Citibank that the purpose of Silva’s asset-
based loan was for Healthpointe’s business. The Resnick parties
further alleged Silva or “[c]ross-[d]efendants” misrepresented
facts relating to the civil and criminal lawsuits.




      3 The FAXC also alleged that Mary Aviles and HMA
breached their fiduciary duty to HFS (fourth and fifth causes of
action). However, none of the challenged allegations concern
these claims and, thus, we need not address them.




                                11
       The Resnick parties alleged they were economically injured
by (1) cross-defendants’ use of Starbase/AFIS financing to HFS to
launder illegally or fraudulently obtained monies;
(2) Starbase/AFIS’s fraudulent lending, under which HFS paid
$5.1 million in interest, and which caused a cash flow crisis that
damaged ROAR and thereby ROAR’s ownership interest in HFS;
(3) any potential criminal investigation and penalties that they
suffered or will suffer as a result of being unwitting participants
in cross-defendants’ criminal enterprise; (4) “reputational harm,”
including lost goodwill; (5) lost profits including those arising
from an inability to collect current accounts receivable owed to
HFS; and (6) lost business opportunities.
       For each of the three causes of action, the Resnick parties
alleged that they relied on cross-defendants’ representations as
follows (or in some similar variation): “Had Silva not
misrepresented facts regarding civil complaints against him and
his entities, the criminal complaint against Silva and Geli, and
Silva’s effective control of numerous conflicted business entities,
[cross-complainants] would never have initially agreed to form
HFS with HMA and [Mary] Aviles, or do business with
Orangewood, Starbase, AFIS, or other Silva/Aviles Family RICO
Enterprise [e]ntities[, which include Healthpointe and NIOM].
Had [c]ross-[d]efendants not continuously misrepresented the
nature of civil lawsuits being brought against Silva and Starbase
and Healthpointe, or of criminal lawsuits brought against Silva
and Geli, [c]ross-[c]omplainants would have dissolved the HFS
partnership much earlier.”




                                12
B.    The Special Motion to Strike
      1.    The Parties’ Arguments
       On April 13, 2023, HMA, Mary Aviles, NIOM, and
Orangewood (together, HMA defendants) filed a special motion to
strike certain allegations related to the RICO and fraud claims
from the FAXC. To avoid repetition, we describe these
challenged portions in the Discussion, post.
       The HMA defendants argued that the FAXC sought “to
hold [c]ross-[d]efendants liable for litigation-related
communications and actions.” For example, the FAXC alleged
that Silva lied to Resnick about pending lawsuits and that the
Resnick parties relied on such representations to their detriment
because they did not dissolve HFS sooner and instead entered
into business transactions with various Silva-controlled entities.
The HMA defendants argued the anti-SLAPP statute protected
such speech as statements made in connection with an issue
under consideration or review by a judicial body and as other
conduct in furtherance of the exercise of the constitutional right
of petition. (§ 425.16, subd. (e)(2), (4).) They further argued that
the Resnick parties could not demonstrate their claims had
minimal merit.
       In support of their motion, the HMA defendants sought
judicial notice of the following court documents: (1) the dismissal
of the 2011 civil matter filed by the Healthpointe physician;
(2) court orders dismissing with prejudice Silva, Starbase, and
Healthpointe from the civil RICO action filed by SCIF based upon
a stipulation of the parties; and (3) minutes of the Orange County
Superior Court in January 2023 dismissing the 2017 felony
complaint against Silva and others. They also submitted Silva’s
declaration.




                                13
      On May 9, 2023, Silva, Geli, James Aviles, Starbase, and
AFIS (together, the Silva defendants) joined in the HMA
defendants’ special motion to strike.
      In opposition, the Resnick parties argued the challenged
allegations did not “arise from” protected activity and were not
asserted as grounds for relief. Rather, the allegations at issue
merely provided context or served as evidence of the wrongs
described. The Resnick parties further argued that all parties
other than Silva lacked standing to bring the anti-SLAPP motion
because the challenged allegations concerned only Silva’s speech.
The Resnik parties argued their action had minimal merit under
the second prong. Resnick submitted a six-page declaration in
support of the opposition, to which the HMA defendants objected
in part.
      2.    The Trial Court’s Ruling
       The trial court denied the special motion to strike. It found
the claims at issue “are not based on statements made in
connection with those [legal] proceedings (i.e., made in the
context of the proceeding); the statements [c]ross-[c]omplainants
sue upon are [m]oving [p]arties’ representations to [c]ross-
complainants about those proceedings.” It further found “the acts
underlying [the] causes of action in the [FAXC] are not based
upon [c]ross-[d]efendants’ exercise of their furtherance of [sic]
their constitutional right to petition or free speech in their
defense of the Orange County District Attorney’s action. The
statements sued upon were not made to further [c]ross-
[d]efendants’ positions in [such cases]. Instead, [c]ross-
[c]omplainants alleged that [c]ross-[d]efendants made
misrepresentations about the litigation in order to assuage
[c]ross-[c]omplainants to continue to do business with [c]ross-




                                14
[c]omplainants. The statements were not made in furtherance of
the [c]ross-[d]efendants’ right of petition or free speech, but,
rather, to induce [c]ross-[c]omplainants to remain in business
with them.” However, the trial court also found the “FAXC is
based on [c]ross-[d]efendants’ allegedly wrongful lawsuit-related
communications, which serve as the basis for the fraud, breach of
fiduciary duty, civil RICO violations, and conspiracy to commit
civil RICO violations.”
       Because it found that the cross-defendants failed to meet
the first prong of the anti-SLAPP analysis, the trial court did not
consider whether the claims had minimal merit under the second
prong. The trial court granted the HMA defendants’ request for
judicial notice and denied all evidentiary objections to Resnick’s
declaration.
                          DISCUSSION
A.     General Legal Principles and Standard of Review
       The Legislature enacted section 425.16 “[t]o combat
lawsuits designed to chill the exercise of free speech and petition
rights.” (Park v. Board of Trustees of California State University
(2017) 2 Cal.5th 1057, 1060 (Park).) To that end, the anti-SLAPP
statute provides that “cause[s] of action against a person arising
from any act of that person in furtherance of the person’s right of
petition or free speech under the United States Constitution or
the California Constitution in connection with a public issue shall
be subject to a special motion to strike, unless the court
determines that the plaintiff has established that there is a
probability that the plaintiff will prevail on the claim.” (§ 425.16,
subd. (b)(1).)
       When considering whether to strike a claim, courts
undertake a two-prong analysis. “First, the defendant must




                                 15
establish that the challenged claim arises from activity protected
by section 425.16. [Citation.]” (Baral v. Schnitt (2016) 1 Cal.5th
376, 384; accord, Bonni v. St. Joseph Health System (2021) 11
Cal.5th 995, 1009.) “When relief is sought based on allegations of
both protected and unprotected activity, the unprotected activity
is disregarded at this stage.” (Baral v. Schnitt, supra, at p. 396.)
        “If the defendant makes the required [first-prong] showing,
the burden shifts to the plaintiff to demonstrate the merit of the
claim by establishing a probability of success.” (Baral v. Schnitt,
supra, 1 Cal.5th at p. 384.) A “plaintiff’s second-step burden is a
limited one. The plaintiff need not prove her case to the court
[citation]; the bar sits lower, at a demonstration of ‘minimal
merit’ [citation]. At this stage, ‘ “[t]he court does not weigh
evidence or resolve conflicting factual claims. Its inquiry is
limited to whether the plaintiff has stated a legally sufficient
claim and made a prima facie factual showing sufficient to
sustain a favorable judgment. It accepts the plaintiff’s evidence
as true, and evaluates the defendant’s showing only to determine
if it defeats the plaintiff’s claim as a matter of law.” ’ [Citations.]”
(Wilson v. Cable News Network, Inc. (2019) 7 Cal.5th 871, 891.)
        We review de novo the trial court’s grant or denial of a
special motion to strike under the anti-SLAPP statute. (Park,
supra, 2 Cal.5th at p. 1067.)
B.     Prong One: Some of the Challenged Allegations
       Arise from Protected Activity
       Section 425.16, subdivision (e)(2) defines protected conduct
to include statements made in connection with an issue under




                                  16
consideration by a judicial body.4 Section 425.16, subdivision (a)
provides the anti-SLAPP statute “shall be construed broadly,”
and in keeping with that mandate, “courts have adopted ‘a fairly
expansive view of what constitutes litigation-related activities
within the scope of section 425.16.’ ” (Kolar v. Donahue,
McIntosh &amp; Hammerton (2006) 145 Cal.App.4th 1532, 1537.)
       Cross-defendants argue the challenged allegations concern
statements made in connection with issues under consideration
by a judicial body and that they form one or more of the
necessary elements of the RICO and fraud claims. The Resnick
parties, on the other hand, argue their claims do not “arise from”
the litigation-related statements. Rather, each of the challenged
allegations is merely context for or evidence of cross-defendants’
fraud perpetrated against the Resnick parties. They further
argue that all cross-defendants other than Silva lack standing to
bring an anti-SLAPP motion.
       As we observed above, the challenged allegations fall into
four categories: (1) statements Silva or other cross-defendants
made about other lawsuits; (2) statements Silva made in other
lawsuits; (3) information the Resnick parties learned from the
other lawsuits; and (4) allegations that appear to have nothing to
do with any prior lawsuit. We address these categories after first
disposing of the Resnick parties’ standing argument.




      4 The HMA defendants’ appellate briefing makes a one-
time reference to section 425.16, subdivision (e)(4), which protects
“other conduct in furtherance of the exercise of the constitutional
right of petition,” but neither party sets forth any argument on
appeal relying on that provision.




                                17
      1.    Standing
      On appeal, the Silva defendants seek to strike a narrower
universe of allegations than the HMA defendants.5 The Resnick
parties argue that all non-Silva cross-defendants lack standing to
move to strike any claims not challenged by Silva. The Resnick
parties claim the FAXC alleges that Silva alone, and no one else,
made the claimed statements and therefore only his potentially
protected conduct is at issue. Although the FAXC is not a model
of clarity, its allegations attribute the statements of Silva to all
cross-defendants as though those cross-defendants also made
them. Among other things, the FAXC alleges that “each of the
cross-defendants was the co-conspirator of each and every other
cross-defendant and, in performing the acts herein alleged, was
acting within the scope of such conspiracy,” such that any
statements Silva made are equally chargeable to the cross-
defendants. The Resnick parties further allege that “cross-
defendants,” meaning every single one of them, “continuously
misrepresented the nature of [the] civil lawsuits being brought
against Silva and . . . , or of criminal lawsuits brought against
Silva and Geli.”
       The Resnick parties cannot claim non-Silva parties lack
standing to challenge the statements at issue, while at the same
time asserting each statement by Silva is attributable to all
cross-defendants as though the cross-defendants themselves
spoke because all cross-defendants were Silva’s co-conspirators.
In any event, the FAXC further alleges the non-Silva cross-


      5 The Silva defendants’ reply brief “narrow[ed] the scope of
their appeal” to paragraphs 45, 46, 51, 67(c), 118, 119, 120, 126,
127, 128, and 138 or portions thereof.




                                 18
defendants themselves “continuously misrepresented the nature
of [the] civil lawsuits” and the “criminal lawsuits.” We therefore
reject the Resnick parties’ standing argument. Each of the cross-
defendants has standing to challenge the trial court’s denial of
the anti-SLAPP motion.
      2.    Category 1: Statements Made About Other Lawsuits
            a.    The Challenged Allegations
        The first category of challenged allegations concern
statements made about pending lawsuits. The identified
allegations are as follows.
        Paragraph 7 at page 6, lines 11 to 13: “Following this
[f]elony [c]omplaint filing, as detailed below, Silva assuaged and
‘lulled’ ROAR and Resnik to avoid detection of the fraud being
perpetrated under their noses.” (Fn. omitted.)
        Paragraph 42 at page 14, lines 21 to 22, describing Silva’s
response to Resnick concerning the October 16, 2013
WorkCompCentral article about the qui tam action: “Silva
reassured Resnik that there was no problem with continuing to
accept business generated from Healthpointe physicians and
patients.”
        Paragraph 45: “In response [to Resnick’s email about the
2015 civil RICO lawsuit], Silva emailed Resnik several voice
messages reassuring Resnik that the allegations were not true.
[Image.] The attached voice message from Silva reads: [¶] ‘So
yeah I just looked at the WorkCompCentral article . . . um as I
mentioned I had already seen this . . . lookin’ at it, there wasn’t
anything specific that says that the amount of money that they
have to prove up . . . because there wasn’t any of that happening
. . . obviously there’s a lot of allegations all against me and
they’re not true. . . .’ ”




                                 19
      Paragraph 46 at page 15: “Silva emailed another voice
message to Resnik later that morning representing that the only
problem posed by the civil RICO lawsuit was that it would create
bad publicity. [Image.] The attached voice message from Silva
reads: [¶] ‘this thing will get long and drawn out and expensive
and um the thing is though, take a look at the comment at the
right of the patient, probably made by an ortho surgeon or a
doctor or a plant by the newspaper itself . . . yeah we’re going to
be okay in all this, no question about it, it’s just the publicity
behind it that’s the problem . . . we’ve got all this BS going on . . .
in the long run there is no question in my mind we’ll be fine . . .
you’re innocent until proven guilty . . . they’re going to have a
hard pressed time with a number of the guys here . . . none of
these issues . . . I’m not concerned . . . the problem is that we’re
going to have to defend all this.’ ”
      Paragraph 47 at page 17: “Because dozens of physicians
and health care adjacent entities were discussed in the [SCIF
RICO] lawsuit, Resnik accepted Silva’s representations at the
time, believing that a plaintiff’s attorney might have been
aggressive in naming defendants.”
      Paragraph 51 at page 17, line 21 to page 18, line 8: “Silva
responded to the news [concerning the 2017 criminal complaint]
by marking up a contemporaneous status update with a stylus
and tablet, informing Resnik that there was no concern because
Starbase and AFIS would cooperate to protect HFS, neither was
a named defendant, and Silva’s name was not associated with
Starbase, rather Geli’s name was the one on paper: [image of
marked up status report].”
      Paragraph 63 at page 21, lines 4 to 11: “After all, the
lawsuits against Healthpointe and Starbase had been civil in




                                  20
nature, and Silva repeatedly provided reassurances to Resnik
that superficially appeared to prove true. For example, when
Silva reassured Resnik that there was no cause for concern about
the 2012 [q]ui [t]am lawsuit, the lawsuit resolved without any
harm to HFS. And when Silva reassured Resnik that there was
no cause for concern about the 2015 civil RICO lawsuit, the
lawsuit was dismissed without any harm to HFS. So, when the
2017 [f]elony [c]omplaint was filed by the Orange County District
Attorney’s office, and Silva said it would only implicate Geli and
that there was no cause for concern, ROAR and Resnik continued
to believe Silva.”
       Paragraph 67(c) at page 23, lines 15 to 17: “At the time,
Silva reassured Resnik that many defendants had been wrapped
up in the SCIF case, and it would simply be a publicity problem.”
       Paragraph 118 at page 48, line 27 to page 49, line 2; and
paragraph 126 at page 52, lines 9 to 10: “Cross-[d]efendants’
misrepresentations to [c]ross-[c]omplainants of facts relating to
civil lawsuits against Silva, Healthpointe, and Starbase . . . .”
       Paragraph 118 at page 49, lines 5 to 6; paragraph 126 at
page 52, lines 14 to 15; paragraph 128 at page 53, lines 15 to 16;
and paragraph 138 at page 56, lines 16 to 17: “[C]ivil complaints
against him and his entities, the criminal complaint against Silva
and Geli.”
       Paragraph 118 at page 49, lines 9 to 12; paragraph 119 at
page 49, lines 22 to 25; paragraph 120 at page 50, lines 10 to 13;
paragraph 126 at page 52, lines 18 to 21; paragraph 128 at
page 53, lines 19 to 22; paragraph 1386 at page 56, lines 20 to 23;

      6 In their motion, the HMA defendants stated that they
sought to strike paragraph 134. Based upon their page and line




                                21
and paragraph 139 at page 57, lines 5 to 8: “Had Cross-
[d]efendants not continuously misrepresented the nature of civil
lawsuits being brought against Silva and Starbase and
Healthpointe, or of criminal lawsuits brought against Silva and
Geli, ROAR and Resnik would have dissolved the HFS
partnership much earlier.”
       Paragraph 120 at page 50, lines 6 to 7: “[C]ivil complaints
against him and various [c]ross-[d]efendant [e]ntities, the
criminal complaint against Silva and Geli.”
       Paragraph 127 at page 53, lines 4 to 7: “Had Silva not
continuously misrepresented the nature of civil lawsuits being
brought against Silva and Starbase and Healthpointe, or of
criminal lawsuits brought against Silva and Geli, [c]ross-
[c]omplainants would have dissolved the HFS partnership much
earlier.”
       Paragraph 138 at page 56, lines 9 to 11: “Cross-
[c]omplainants are entitled to recover damages arising from
reputational harm that [c]ross-[c]omplainants suffered as a direct
and proximate cause of [c]ross-[d]efendants’ misrepresentations
to [c]ross-[c]omplainants of facts relating to his criminal
indictment.”
            b.    Analysis
      Cross-defendants liken the above statements to those in
Neville v. Chudacoff (2008) 160 Cal.App.4th 1255 and
Contemporary Services Corp. v. Staff Pro Inc. (2007) 152
Cal.App.4th 1043, among other cases. Those cases held movants
had satisfied the first prong of the anti-SLAPP analysis because


references as well as the content of the paragraphs, it is clear
they intended to strike paragraph 138.




                                 22
the challenged statements were about substantive issues in the
litigation and directed to interested nonparties, and, thus, “ ‘in
connection with’ litigation under section 425.16, subdivision
(e)(2).” (Neville v. Chudacoff, supra, at p. 1266; Contemporary
Services Corp. v. Staff Pro Inc., supra, at p. 1055.)
       For example, in Neville v. Chudacoff, supra, 160
Cal.App.4th at page 1259, the defendant employer fired one of its
employees for soliciting customers to start a competing business.
Months prior to any litigation, employer’s counsel wrote a letter
to the customers that accused the employee of breach of contract
and misappropriation of trade secrets and suggested that, to
avoid potential involvement in any ensuing litigation “ ‘as a
material witness, or otherwise,’ ” the customers should not do
business with the former employee. (Ibid.) The employer sued
the employee for misappropriation of customer lists and related
misconduct; the employee cross-complained for defamation. (Id.
at pp. 1259, 1260.) The employer filed an anti-SLAPP motion to
the employee’s cross-complaint. (Id. at p. 1260.) In opposition,
the employee argued the anti-SLAPP statute did not apply
because, among other things, the letter was sent to nonparties.
(Id. at p. 1262.) The appellate court disagreed and concluded the
letter was protected conduct because it related directly to the
employer’s claims and was sent to “persons whom [the employer]
reasonably could believe had an interest in the dispute.” (Id. at
pp. 1267-1268.)
       In Contemporary Services Corp. v. Staff Pro Inc., supra, 152
Cal.App.4th 1043, a plaintiff sued for unfair competition. (Id. at
p. 1048.) During the litigation, the trial court sanctioned the
plaintiff for discovery abuses. (Id. at pp. 1048-1049.) The
defendants thereafter emailed customers to “ ‘update’ ” them on




                                23
“ ‘the court[’]s findings.’ ” (Id. at pp. 1050.) Defendants claimed
the email was sent “ ‘to give these persons some level of comfort
that it was unlikely any further testimony would be needed from
them’ ” and “ ‘to apologize for any disruption to their business
that occurred as a result of being “dragged into” the . . . [a]ction
because of their connection to [the defendants].’ ” (Id. at p. 1050.)
The plaintiffs sued the defendants for sending this email, and the
defendants filed an anti-SLAPP motion. (Id. at p. 1051.) The
appellate court concluded that the anti-SLAPP statute protected
the email because it “constitute[d] a litigation update, which
describes the parties’ contentions and court rulings, and is
directed to individuals who had some involvement in the parties’
litigation.” (Id. at p. 1055.)
       The Resnick parties do not dispute that statements about a
pending litigation made to interested nonparties like themselves
fall within the ambit of the anti-SLAPP statute, so we need not
discuss the merits of cross-defendants’ contention on that point.
Nor do the Resnick parties dispute that they were interested in
the 2013 qui tam action, the 2015 SCIF civil RICO action, and
the 2017 criminal action filed against one or more of the cross-
defendants; indeed, the Resnick parties expressly allege that they
relied on Silva’s explanations about these legal proceedings.
Instead, the Resnick parties argue that none of their claims
“arise from” the challenged allegations concerning protected
activity. Rather, they claim that the information they received
from Silva about the lawsuits is merely context for their claims.
We disagree.
       In determining whether the challenged claims “arise from”
protected activity, “courts are to ‘consider the elements of the
challenged claim and what actions by the defendant supply those




                                 24
elements and consequently form the basis for liability.’
[Citation.]” (Bonni v. St. Joseph Health System, supra, 11
Cal.5th at p. 1009.) “ ‘Allegations of protected activity that
merely provide context, without supporting a claim for recovery,
cannot be stricken under the anti-SLAPP statute.’ ” (Id. at
p. 1012, quoting Baral v. Schnitt, supra, 1 Cal.5th at p. 394.) “[A]
claim may be struck only if the speech or petitioning activity
itself is the wrong complained of, and not just evidence of liability
or a step leading to some different act for which liability is
asserted.” (Park, supra, 2 Cal.5th at p. 1060, italics omitted.)
        The elements of a civil RICO claim are: “ ‘(1) conduct (2) of
an enterprise (3) through a pattern (4) of racketeering activity . . .
(5) causing injury to [the] plaintiff’s “business or property.” ’
[Citation.]” (Living Designs, Inc. v. E.I. Dupont de Nemours (9th
Cir. 2005) 431 F.3d 353, 361.) “ ‘ “[R]acketeering activity” is any
act indictable under several provisions of Title 18 of the United
States Code, and includes the predicate acts of mail fraud [and]
wire fraud . . . .’ [Citation.]” (Sanford v. MemberWorks, Inc. (9th
Cir. 2010) 625 F.3d 550, 557.) “Mail and wire fraud are identical
offenses except for the particular method used to disseminate the
fraud. [Citation.] The elements are (1) a scheme to defraud,
(2) the use of the mails or wires to further that scheme, and
(3) the specific intent to defraud. [Citation.] The ‘scheme to
defraud’ element requires ‘an affirmative, material
misrepresentation.’ [Citation.]” (In re JUUL Labs, Inc.,
Marketing, Sales Practices (N.D.Cal. 2020) 497 F.Supp.3d 552,
595; see also Model Crim. Jury Instr. (9th Cir. 2024) Nos. 15.32,
15.35 [mail and wire fraud under 18 U.S.C §§ 1341, 1343 require
“a scheme . . . to defraud . . . by means of false or fraudulent
pretenses, representations, or promises . . . , or omitted facts. . . .




                                  25
Deceitful statements of half-truths may constitute false or
fraudulent representations”].) The predicate offenses of mail and
wire fraud do not require reliance, nor does RICO itself require
that the injured party relied on the misrepresentation. (Bridge v.
Phoenix Bond &amp; Indem. Co. (2008) 553 U.S. 639, 649-650.)
       With regard to the state law fraud claim, “The elements of
fraud are misrepresentation, knowledge of falsity, intent to
induce reliance on the misrepresentation, justifiable reliance on
the misrepresentation, and resulting damages.” (Reeder v.
Specialized Loan Servicing LLC (2020) 52 Cal.App.5th 795, 803,
citing Lazar v. Superior Court (1996) 12 Cal.4th 631, 638.)
       Here, the Resnick parties base their RICO claims on mail
and wire fraud. Thus, the Resnick parties’ RICO causes of action
as well as their fraud cause of action require them to allege
misrepresentation. Although the FAXC alleges multiple types of
misrepresentations, one is that cross-defendants lied to the
Resnick parties about the merits of the civil lawsuits and
criminal prosecution. This misrepresentation, which is repeated
within the substantive allegations for each of the three causes of
action, is an element of the wrong complained of in the Resnick
parties’ RICO and fraud claims. Further, as to their civil fraud
claim, the Resnick parties assert they relied on this
misrepresentation about the merits of pending litigation, such
that it supplies the element of justifiable reliance. Such
allegations, and factual allegations supporting these elements,
therefore constitute protected activity subject to a special motion
to strike. (See Park, supra, 2 Cal.5th at p. 1060.)
       Accordingly, cross-defendants satisfied their burden to
demonstrate that the allegations in this category are protected
activity within the meaning of section 425.16, subdivision (e)(2).




                                26
      3.    Category 2: Statements Made in Other Lawsuits or
            Current Litigation Conduct
       The next category of allegations concerns statements made
in other lawsuits. The anti-SLAPP statute recognizes that
statements made in judicial proceedings are ordinarily protected
activity. (§ 425.16, subd. (e)(1) [statements made “before a
legislative, executive, or judicial proceeding, or any other official
proceeding authorized by law” are protected activity].) However,
“the critical consideration is whether the cause of action is based
on the defendant’s protected free speech or petitioning activity.”
(Navellier v. Sletten (2002) 29 Cal.4th 82, 89, italics omitted.)
       All but one of the challenged allegations in this category
concern Silva’s misrepresentations in 2022 to his former spouse
and to the family court during divorce proceedings. In particular,
he represented that he did not have any ownership interests in
Orangewood, ProCare, NIOM, Starbase, or HFS, among others.
However, none of the Resnick parties’ claims depend on Silva’s
misrepresentations in the family court. None of these divorce-
related representations was made to the Resnick parties. Nor is
there any allegation the Resnick parties were injured by such
representations, as they occurred in 2022 after they had already
decided to part ways with Silva and sought to dissolve HFS in
2021. The FAXC alleges these statements in the divorce
proceedings only as evidence for past misrepresentations made
before Resnick sought to dissolve HFS. Thus, the trial court
properly denied cross-defendants’ motion to strike the following.
       Entirety of paragraph 103 at page 45: “In February 2021,
Silva’s ex-wife, Ksenia Silva, filed a [m]arriage [d]issolution and
[d]ivorce lawsuit against Silva, and on April 12, 2022, Silva and
Ksenia entered into a [s]tipulated [j]udgment of [d]issolution. In




                                 27
his proceedings, Silva failed to truthfully disclose the entities in
which he has an interest, either directly or through his family
members, including HMA. Rather, he acknowledged the entities
in which he claims he never had any ownership interest. And he
does not disclose any interest in HFS, which he refers to as
‘Factoring Company’ (rather than by name).”
       Entirety of paragraph 104 at page 45: “The following is an
excerpt from Silva’s divorce settlement, which includes self[-
]serving and fraudulent provisions mischaracterized as court
findings that, on information and belief, are designed to hide his
assets from his former spouse and insulate Silva from later being
found to have unrecorded ownership interests and actual control
of the Silva/Aviles RICO Enterprise [e]ntities: [Image of
stipulation that Silva never had any ownership interests in
Orangewood, ProCare, NIOM, Starbase, Factoring Company, and
two other third party companies].”
       Entirety of paragraph 105 at page 45: “Silva concealed his
assets and revenue from his former spouse and from the [f]amily
[c]ourt, to which he was legally obligated to disclose such
information under penalty of perjury.”
       Entirety of paragraph 106 at page 46: “Silva engaged in
this fraudulent disclosure to the [f]amily [c]ourt and his former
spouse to conceal the existence and role of the Silva/Aviles
Family RICO Enterprise with respect to HFS and the other
entities listed in the fraudulent filing. As such, the filing is
evidence of the entities forming part of the Silva/Aviles Family
RICO Enterprise, and further perpetuates Silva’s fraudulent
representations related to his control of and role with HFS
(through HMA).”




                                28
       This category contains one additional statement that was
not made as part of the family proceedings. The Resnick parties
allege at paragraph 66, page 21, line 25 to page 22, line 1 that as
to HMA’s underlying complaint, “Silva orchestrated this
litigation to pressure ROAR into surrendering the HFS business
to Silva.” This allegation does not form the basis of the Resnick
parties’ claims, and therefore the trial court properly declined to
strike it.
      4.    Category 3: Information the Resnick Parties
            Discovered from Lawsuits
       The third category concerns allegations about facts the
Resnick parties learned from prior lawsuits. Cross-defendants do
not cite any authority for the proposition that statements made
in litigation cannot function as a source of information from
which a person learns of potential prior wrongs committed
against them. Indeed, in such a scenario, the litigation-related
statements themselves are not the wrong complained of and,
thus, not subject to the anti-SLAPP statute. (See Park, supra, 2
Cal.5th at p. 1060.) We conclude the trial court correctly found
the following challenged allegations in which the Resnick parties
describe information they learned from lawsuits did not arise
from protected activity.
       Paragraph 7 at page 6, lines 10 to 11: “For example,
[c]ross-[c]omplainants learned that the Orange County District
Attorney filed a [f]elony [c]omplaint against Silva and his son,
Geli, for an illegal kickback scheme.”
       Paragraph 7 at page 6, footnote 1: “The Orange County
District Attorney dismissed the charges against Silva and Geli on
January 6, 2023. The dismissal was not based on the merits of
the case.”




                                29
       Paragraph 7 at page 6, lines 13 to 16: “Similarly, [c]ross-
[c]omplainants also reviewed the 2021-2022 family court filings of
Silva and learned that Silva made false representations about
both the ownership/control and value of various entities that he
owned, operated, or controlled, including HFS.”
       Entirety of paragraph 50 at page 17, including footnote 4,
which describes the 2017 felony complaint against Silva and his
son, Geli.
       Paragraph 51 at page 17, lines 19 to 21: “Around the time
that the [f]elony [c]omplaint was filed, Resnik learned about it
from an article on WorkCompCentral and raised the issue in one
of his monthly management updates. A copy of the
WorkCompCentral article is attached hereto as Exhibit G.” (Bold
omitted.)
       Paragraph 67 at page 22, line 4 to page 23, line 15: “In
recent months, [c]ross-[c]omplainants learned that the criminal
conduct harming HFS was only a part of the Silva/Aviles Family
RICO Enterprise, and that [c]ross-[d]efendants have been
defrauding [c]ross-[c]omplainants and others since at least 2010.
Although the following public information helps evidence the
scope, structure, and manner/means of the Silva/Aviles Family
RICO Enterprise’s operations, significant additional discovery
from [c]ross-[d]efendants and related entities will be necessary in
this regard. [¶] a. In February 2021, Silva’s ex-wife, Ksenia
Silva (‘Ksenia’), filed for dissolution against Silva, and on
April 12, 2022, Silva and Ksenia entered into a [s]tipulated
[j]udgment of [d]issolution, which listed the various entities in
which Silva has an interest. The list omitted HMA, but included
far more entities than [c]ross-[c]omplainants previously knew
that Silva either owned, operated, or controlled and contained a




                                30
self-serving, fraudulent recital about Silva’s control (or purported
lack thereof) of HFS, referring to it only as Factoring Company.
[Image of stipulation that Silva never had any ownership
interests in Orangewood, ProCare, NIOM, Starbase, ‘Factoring
Company,’ and two other third party companies.] [Citation.] On
information and belief, ProCare—the disclosed company—had a
small fraction of the business that ‘Factoring Company’ (HFS)
had at the time of the filing. [¶] b. In a 2011 civil lawsuit
against Silva for breach of contract and fraud, inter alia, Silva is
accused of using alter ego companies to operate health clinics.
The plaintiff, a doctor employed by one of those health clinics,
made the following allegations against Silva: [image of
allegations against Silva]. [Citation.] [¶] c. In 2015, SCIF filed
a civil RICO complaint against Starbase and Silva, among dozens
of other defendants, accusing them of overbilling, pricing
manipulation, and receiving illegal kickbacks and referral fees.
[Citation.]”
       Paragraph 67 at page 23, lines:17 to 20: “Cross-
[d]efendants now have reason to believe that Silva was, in fact,
engaging in criminal activity for the reasons identified in this
[c]ross-[c]omplaint, and the timing of the switch from Starbase to
AFIS was a result of the SCIF litigation and the need to avoid
imminent detection of the Silva/Aviles Family RICO Enterprise
from law enforcement.”
       Entirety of paragraph 68 at page 23: “These recent
discoveries and others have helped [c]ross-[c]omplainants
‘connect the dots’ underlying Silva’s fraudulent representations
and assurances to [c]ross-[c]omplainants, as well as the existence
of the Silva/Aviles Family RICO Enterprise and its connection to




                                31
HFS, HMA, Starbase, and AFIS in ways that directly harmed
[c]ross-[c]omplainants.”
       Paragraph 96 at page 39, lines 2 to 5: “The details of
Silva’s fraudulent scheme via Starbase/AFIS came to light in
recent months from a review of Silva’s divorce proceedings, civil
lawsuits against Healthpointe, Starbase, and Silva, and the 2017
[f]elony [c]omplaint, all of which contributed to exposing Silva’s
actual interest in Starbase/AFIS.”
      5.    Category 4: Allegations Not Connected to Any
            Lawsuit
       The final category is a catch-all for statements that do not
in fact relate to prior litigation. In making their special motion to
strike, cross-defendants characterized the allegations in this
category as litigation-related and made no other argument as to
why the allegations should be stricken. However, these
allegations have nothing to do with litigation, or alternatively
describe cross-defendants’ misrepresentations in such general
terms that the allegations do not reference litigation-related
misrepresentations (particularly given that all of the allegations
in category one are no longer part of the FAXC). Accordingly, we
conclude the trial court did not err in finding the following
allegations did not implicate protected activity.
       Paragraph 63 at page 20, line 26 to page 21, line 4: “Up
until the dissolution process [relating to HFS], ROAR and Resnik
were not aware that Silva engaged in criminal activity, let alone
as part of a family criminal enterprise with interconnected
schemes to obtain illicit profits. Cross-[c]omplainants’ lack of
knowledge as to the existence and nature of the Silva/Aviles
Family RICO Enterprise at the time was largely due to the
outright lies and shades of deception that Silva had shared with




                                 32
Resnik, and that [Mary] Aviles even continues to tell Resnik and
ROAR to date.” (Fn. omitted.)
       Paragraph 63 at page 21, footnote 5: “Through late 2021,
[Mary] Aviles still insists via e-mail to Resnik that Silva has
nothing to do with the underlying HFS partnership dispute. See
Exhibit H.” (Bold omitted.)
       Paragraph 64 at page 21, lines 14 to 19: “It now appears
that Silva kept his name dissociated from HFS (and used [Mary]
Aviles’ name) since 2010 to keep both his Healthpointe (i.e., the
Healthpointe [a]djacent [l]ien [p]urchases) and Starbase/AFIS
dealings with HFS hidden from investigators and prosecutors
who were already clued into Silva’s criminal schemes, and to
insulate the Silva/Aviles Family RICO Enterprise from detection
by law enforcement and others who had business and close
personal dealings with [c]ross-[d]efendants.” (Italics omitted.)
       Entirety of paragraph 71(c) at page 25: “[HFS]: On
information and belief, Silva formed HFS to secretly benefit
himself and the Silva/Aviles Family RICO Enterprise. Silva
made his sister, [Mary] Aviles, the owner via her interest in HMA
to fraudulently conceal his ownership and control of HFS. The
Silva/Aviles Family RICO Enterprise used HFS to: (a) launder or
‘clean’ the proceeds of criminal activity from the other
Silva/Aviles Family RICO Enterprise [e]ntities; (b) profit from
fraudulently procured financing for and interest from HFS; and
(c) conceal and profit from kickbacks and health care fraud
associated with Healthpointe and Orangewood.”
       Entirety of paragraph 71(f) at page 26: “[NIOM]: On
information and belief, NIOM is a company owned by [Mary]
Aviles on paper and managed by Geli as president and secretary.
The Silva/Aviles Family RICO Enterprise caused Healthpointe




                               33
physicians to bill patients for NIOM services, without telling
patients, so that NIOM would hold a lien on those patients’
personal injury settlements and ultimately collect from the
amounts owed to those patients.”
       Paragraph 75 at pages 28, lines 1 to 11: “Furthermore,
Silva also facilitated the scheme by emailing voice dictation files
(a) to [Mary] Aviles, who then transcribed the audio into emails
that she sent to Resnik, and (b) to Geli, who then transcribed the
audio into emails that he sent from [Mary] Aviles’ email address
to Resnik. Silva also included James [Aviles] and Medina on
these email threads and on information and belief, employed the
same method of communication to instruct their conduct. On
information and belief, all or nearly all of these emails were
transmitted using interstate wire communications. On
information and belief, there are hundreds of these emails where
Silva dictates voice file messages for [Mary] Aviles and Geli and
other coconspirators to transcribe—essentially verbatim—to
Resnik and others. Silva’s hiding behind these voice files was all
to avoid the appearance of the obvious truth that Silva controls
the Silva/Aviles Family RICO Enterprise [e]ntities and is the
head of the Silva/Aviles Family RICO Enterprise.”
       Paragraph 75(a) at page 28, lines 15 to 27: “The following
is an email that [Mary] Aviles purportedly wrote to Resnik, but in
reality, the email is a verbatim transcription of Silva’s voice
message to [Mary] Aviles. In a voice message Silva emailed to
[Mary] Aviles, he states: [¶] “Enough of this [indecipherable]
bullshit okay . . . don’t send this out tonight we can uh push it for
the weekend okay . . . and say . . . I will be discussing this further
with my attorneys . . . period . . . I do not authorize any HFS
payments in this regard . . . period . . . I will let the attorney




                                 34
follow up on this . . . I will let my attorney follow up on this. [¶]
. . . Then, [Mary] Aviles sent the following email at 11:57 p.m. on
Sunday: [Image of email in which Mary Aviles states, ‘I will be
discussing this further with my attorneys. I do not authorize any
HFS payments in this regard. I will let my attorney follow up on
this.’].”7
        Paragraph 75(b)-(d) at page 29, line 1 to page 33, line 19,
which describes voicemails Silva left for Mary Aviles and Geli
directing them to send certain business emails and images of the
emails sent thereafter.
        Entirety of paragraph 76 at page 33, which describes
communications between Tanya Moreland King and Silva that
Silva had exclusive control over where Healthpointe doctors
would provide services.
        Paragraph 78 at page 34, lines 13 to 14, 16: “Cross-
[d]efendants [Mary] Aviles, James [Aviles], and Geli conducted
and/or participated in the conduct of the affairs of the
Silva/Aviles Family RICO Enterprise by following Silva’s
directions” and “kickbacks and rebates, furthering the
misrepresentations, material omissions, and conflicts of.”
        Paragraph 118 at page 49, lines 1 to 2: “[T]he implication
of HFS in [c]ross-[d]efendants’ criminal enterprise.”
        Paragraph 118 at page 49, lines 5 and 6 to 9: “Had Silva
not misrepresented facts regarding,” and “Silva’s effective control
of numerous conflicted business entities, ROAR and Resnik
would never have initially agreed to form HFS with HMA and


      7 Although this statement mentions attorneys, it is not a
litigation-related communication. Rather, it discusses whether
HFS should make certain payments.




                                 35
[Mary] Aviles, or do business with Orangewood, Starbase, AFIS,
or other Silva/Aviles Family RICO Enterprise [e]ntities.”
       Paragraph 119 at page 49, lines 18 to 22: “Had [c]ross-
[c]omplainants learned the truth underlying [c]ross-[d]efendants’
above-described misrepresentations and material omissions,
including Silva’s effective control of numerous conflicted business
entities, ROAR and Resnik would never have initially agreed to
form HFS with HMA and [Mary] Aviles, or do business with
Orangewood, Starbase, AFIS, or other Silva/Aviles Family RICO
Enterprise [e]ntities.”
       Paragraph 120 at page 50, lines 6, 7 to 10; paragraph 126
at page 52, lines 14, 15 to 18; paragraph 128 at page 53, lines 15,
16 to 19: “Had Silva not misrepresented facts regarding,” and
“Silva’s effective control of numerous conflicted business entities,
[c]ross-[c]omplainants would never have initially agreed to form
HFS with HMA and [Mary] Aviles, or do business with
Orangewood, Starbase, AFIS, or other Silva/Aviles Family RICO
Enterprise [e]ntities.”
       Paragraph 126 at page 52, lines 10 to 12: “[T]he
implication of HFS in [c]ross-[d]efendants’ criminal enterprise
has and will cause irreparable harm to [c]ross-[c]omplainants’
reputation amongst medical-legal practitioners in the California
workers.”
       Paragraph 138 at page 56, lines 11 to 16: “The implication
of HFS in [c]ross-[d]efendants’ criminal conduct, which was only
possible through [c]ross-[d]efendants’ fraud on [c]ross-
[c]omplainants, has caused and will continue to cause irreparable
harm to [c]ross-[c]omplainants’ reputation amongst medical-legal
practitioners in the California workers’ compensation industry




                                36
and plaintiffs’ attorneys who facilitate medical treatment on a
lien basis.”
       Paragraph 138 at page 56, lines 16, 17 to 20: “Had [c]ross-
[d]efendants not misrepresented facts regarding,” and “Silva’s
effective control of numerous conflicted business entities, ROAR
and Resnik would never have initially agreed to form HFS with
HMA and [Mary] Aviles, or do business with Orangewood,
Starbase, AFIS, or other Silva/Aviles Family RICO Enterprise
[e]ntities.”
C.    Prong Two: The Resnick Parties Concede They
      Cannot Show Minimal Merit as to the Litigation-
      Related Statements in Category One
      Cross-defendants argue at length that the Resnick parties
cannot establish that the claims at issue in the FAXC have
minimal merit. The Resnick parties offer no cogent argument in
response demonstrating any of their claims (whether in category
one or any other category) has minimal merit. Rather, they
contend, “Cross-[c]omplainants have no interest in defending the
‘merit’ of any hypothetical claims that [c]ross-[d]efendants
imagine the FAXC seeks to establish based on that speech.” The
Resnick parties thus concede the allegations based on litigation-
related statements in category one lack minimal merit and
should be stricken. (See Nelson v. Avondale Homeowners Assn.
(2009) 172 Cal.App.4th 857, 862.)8
      The Resnick parties further note that an anti-SLAPP
motion cannot be used to strike allegations that do not concern
protected activity, and therefore “the most that [c]ross-


      8 Given this concession, the HMA defendants’ appeal of the
trial court’s evidentiary ruling is moot.




                                 37
[d]efendants can seek is to strike the litigation-related
statements.” (Bold omitted.) We agree, and the particular claims
we order stricken do not result in any of the FAXC’s causes of
action being stricken in its entirety.
                           DISPOSITION
       As to the allegations listed below, the trial court’s order
denying cross-defendants’ motion to strike pursuant to section
425.16 is reversed.
       Paragraph 7 at page 6, lines 11 to 13: “Following this
Felony Complaint filing, as detailed below, Silva assuaged and
‘lulled’ ROAR and Resnik to avoid detection of the fraud being
perpetrated under their noses.” (Fn. omitted.)
       Paragraph 42 at page 14, lines 21 to 22: “Silva reassured
Resnik that there was no problem with continuing to accept
business generated from Healthpointe physicians and
patients . . . .”
       Entirety of paragraph 45 at page 15: “In response, Silva
emailed Resnik several voice messages reassuring Resnik that
the allegations were not true. [Image.] The attached voice
message from Silva reads: [¶] ‘So yeah I just looked at the
WorkCompCentral article . . . um as I mentioned I had already
seen this . . . lookin’ at it, there wasn’t anything specific that says
that the amount of money that they have to prove up . . . because
there wasn’t any of that happening . . . obviously there’s a lot of
allegations all against me and they’re not true. . . .’ ”
       Entirety of paragraph 46 at pages 15 to 16: “Silva emailed
another voice message to Resnik later that morning representing
that the only problem posed by the civil RICO lawsuit was that it
would create bad publicity. [Image.] The attached voice message
from Silva reads: [¶] ‘this thing will get long and drawn out and




                                  38
expensive and um the thing is though, take a look at the
comment at the right of the patient, probably made by an ortho
surgeon or a doctor or a plant by the newspaper itself . . . yeah
we’re going to be okay in all this, no question about it, it’s just the
publicity behind it that’s the problem . . . we’ve got all this BS
going on . . . in the long run there is no question in my mind we’ll
be fine . . . you’re innocent until proven guilty . . . they’re going to
have a hard pressed time with a number of the guys here . . .
none of these issues . . . I’m not concerned . . . the problem is that
we’re going to have to defend all this . . . .’ ”
      Entirety of paragraph 47 at page 16: “Because dozens of
physicians and health care adjacent entities were discussed in
the lawsuit, Resnik accepted Silva’s representations at the time,
believing that a plaintiff’s attorney might have been aggressive in
naming defendants.”
      Paragraph 51 at page 17, line 21 to page 18, line 8: “Silva
responded to the news by marking up a contemporaneous status
update with a stylus and tablet, informing Resnik that there was
no concern because Starbase and AFIS would cooperate to protect
HFS, neither was a named defendant, and Silva’s name was not
associated with Starbase, rather Geli’s name was the one on
paper: [image of marked up status report].”
      Paragraph 63 at page 21, lines 4 to 11: “After all, the
lawsuits against Healthpointe and Starbase had been civil in
nature, and Silva repeatedly provided reassurances to Resnik
that superficially appeared to prove true. For example, when
Silva reassured Resnik that there was no cause for concern about
the 2012 Qui Tam lawsuit, the lawsuit resolved without any
harm to HFS. And when Silva reassured Resnik that there was
no cause for concern about the 2015 civil RICO lawsuit, the




                                  39
lawsuit was dismissed without any harm to HFS. So, when the
2017 Felony Complaint was filed by the Orange County District
Attorney’s office, and Silva said it would only implicate Geli and
that there was no cause for concern, ROAR and Resnik continued
to believe Silva.”
       Paragraph 67(c) at page 23, lines 15 to 17: “At the time,
Silva reassured Resnik that many defendants had been wrapped
up in the SCIF case, and it would simply be a publicity problem.”
       Paragraph 118 at page 48, line 27 to page 49, line 2; and
paragraph 126 at page 52, lines 9 to 10: “Cross-Defendants’
misrepresentations to Cross-Complainants of facts relating to
civil lawsuits against Silva, Healthpointe, and Starbase . . . .”
       Paragraph 118 at page 49, lines 5 to 6; paragraph 126 at
page 52, lines 14 to 15; paragraph 128 at page 53, lines 15 to 16;
and paragraph 138 at page 56, lines 16 to 17: “civil complaints
against him and his entities, the criminal complaint against Silva
and Geli . . . .”
       Paragraph 118 at page 49, lines 9 to 12; paragraph 119 at
page 49, lines 22 to 25; paragraph 120 at page 50, lines 10 to 13;
paragraph 126 at page 52, lines 18 to 21; paragraph 128 at
page 53, lines 19 to 22; paragraph 138 at page 56, lines 20 to 23;
and paragraph 139 at page 57, lines 5 to 8: “Had Cross-
Defendants not continuously misrepresented the nature of civil
lawsuits being brought against Silva and Starbase and
Healthpointe, or of criminal lawsuits brought against Silva and
Geli, ROAR and Resnik would have dissolved the HFS
partnership much earlier.”
       Paragraph 120 at page 50, lines 6 to 7: “civil complaints
against him and various Cross-Defendant Entities, the criminal
complaint against Silva and Geli . . . .”




                               40
      Paragraph 127 at page 53, lines 4 to 7: “Had Silva not
continuously misrepresented the nature of civil lawsuits being
brought against Silva and Starbase and Healthpointe, or of
criminal lawsuits brought against Silva and Geli, Cross-
Complainants would have dissolved the HFS partnership much
earlier.”
      Paragraph 138 at page 56, lines 9 to 11: “Cross-
Complainants are entitled to recover damages arising from
reputational harm that Cross-Complainants suffered as a direct
and proximate cause of Cross-Defendants’ misrepresentations to
Cross-Complainants of facts relating to his criminal indictment.”
      On remand, the trial court is directed to vacate its order
denying the motion to strike and to enter a new order granting
the motion in part and striking references to the above identified
portions of the FAXC. As to the remainder of the challenged
allegations, we affirm the trial court’s order denying cross-
defendants’ motion to strike.




                                41
      Each party is to bear its own costs on appeal.
      NOT TO BE PUBLISHED




                                           WEINGART, J.


We concur:




             ROTHSCHILD, P. J.




             KELLEY, J.*




      * Judge of the San Luis Obispo County Superior Court,
assigned by the Chief Justice pursuant to article VI, section 6 of
the California Constitution.




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